      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 1 of 11



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                     Plaintiff,
                                                                DECISION AND ORDER
              v.                                                   13-CR-151-A

RYAN C. LANDER,

                                     Defendant.


       The Defendant, Ryan C. Lander, has moved pursuant to Fed. R. Crim. P.

11(d) to withdraw a guilty plea. Defendant Lander contends he was coerced by his

former legal counsel and his father into pleading guilty to one count of Production of

Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). The Defendant seeks

to withdraw his guilty plea and to file pretrial motions to suppress oral admissions

and evidence that he suggests were obtained because law enforcement officers

questioned him without Miranda1 warnings and coerced him into consenting to

searches and seizures. For the reasons stated below, the Court finds the motion of

the Defendant to withdraw his guilty plea is without merit, and the motion is denied.

                                        DISCUSSION

       Overview of Relevant Law. As the Second Circuit has stated, “[t]here is no

legal requirement that the decision to plead guilty be an easy one.” United States v.

Doe, 537 F.3d 204, 213 (2d Cir. 2008). “A guilty plea is no mere formality, but [is] a


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           Miranda warnings are required to be given by law enforcement officers to ensure that
persons subjected to custodial interrogation are aware of their Fifth Amendment rights against
self-incrimination. See Miranda v. Arizona, 384 U.S. 436, 487-79 (1966).
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 2 of 11



‘grave and solemn act.’ ” United States v. Arteca, 411 F.3d 315, 319 (2d Cir. 2005)

(quoting United States v. Hyde, 520 U.S. 670, 677 (1997)). “ ‘[S]ociety has a strong

interest in the finality of guilty pleas, and allowing withdrawal of pleas not only

undermines confidence in the integrity of our judicial procedures, but also increases

the volume of judicial work, and delays and impairs the orderly administration of

justice.’ ” United States v. Schmidt, 373 F.3d 100, 103 (2d Cir. 2004) (quoting

United States v. Maher, 108 F.3d 1513, 1529 (2d Cir. 1997)).

       Notwithstanding the strong interest in the finality of guilty pleas, it bears

emphasis that a “guilty plea operates as a waiver of important rights, and is valid

only if done voluntarily, knowingly, and intelligently, ‘with sufficient awareness of the

relevant circumstances and likely consequences.’ ” Bradshaw v. Stumpf, 545 U.S.

175, 183 (2005) (quoting Brady v. United States, 397 U.S. 742, 748 (1970)).

Accordingly, pursuant to Fed. R. Crim. P. Rule 11(d), a defendant may be permitted

to withdraw a guilty plea after the plea has been formally accepted by a court, but

before sentencing, for “any fair and just reason.” Fed. R. Crim. P. 11(d)(2)(B). A

defendant bears the burden to establish a fair and just reason for guilty plea

withdrawal. United States v. Rivernider, 828 F.3d 91, 104 (2d Cir. 2016) .

       In general, a Rule 11(d) motion to withdraw a guilty plea requires the court to

consider:

              (1) whether the defendant has asserted his or her legal
              innocence in the motion to withdraw the guilty plea; (2) the
              amount of time that has elapsed between the plea and the
              motion (the longer the elapsed time, the less likely
              withdrawal would be fair and just); and (3) whether the

                                             2
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 3 of 11



               government would be prejudiced by a withdrawal of the plea.

United States v. Schmidt, 373 F.3d 100, 102-03 (2d Cir. 2004) (per curiam). The

court is afforded “large discretion” to determine whether these considerations rise to

the level of “fair and just reason[s]” for withdrawal of a guilty plea when the court has

itself accepted the guilty plea. United States v. Saft, 558 F.2d 1073, 1082 (2d Cir.

1977).

         Of course, “[c]ourts may also look to whether the defendant has raised a

significant question about the voluntariness of the original plea.” Schmidt, 373 F.3d

at 103 (quotation and modifications omitted). Questions of voluntariness may be

deemed insignificant and resolved without an evidentiary hearing, and the motion to

withdraw the guilty plea may be denied, when a defendant's allegations of

involuntariness are contradicted by the defendant’s statements made under oath

during the plea proceeding. See United States v. Gonzalez, 970 F.2d 1095, 1101 (2d

Cir. 1992); United States v. Diaz, 176 F.3d 52, 114 (2d Cir. 1999) (application to

remand for evidentiary hearing denied where defendant's claim that he was

threatened into pleading guilty was unsupported in record and contradicted by his

plea colloquy); United States v. Torres, 129 F.3d 710, 715-16 (2d Cir. 1997) (same).

Similarly, a Rule 11(d) motion to withdraw a guilty plea may be denied without a

hearing when supporting allegations are “simply conclusory” or “inherently

incredible.” Gonzalez, 970 F.2d at 1100.

         The Change-of-Plea Proceeding. During Defendant Lander’s plea colloquy

on February 4, 2015, the Defendant was sworn to tell the truth, and was instructed

                                            3
     Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 4 of 11



and encouraged to proceed deliberately. Dkt. No. 75, pp. 2-3. The following

exchange was among the Court, the Defendant’s former attorney, and the

Defendant:

THE COURT:          Mr. Covert, you have gone over the charge with your client. It’s
                    pretty straightforward. Are you satisfied he understands it?

MR. COVERT:         Yes, Your Honor.

THE COURT:          And you’ve gone over the terms and conditions of the plea
                    agreement?

MR. COVERT:         Many times, Your Honor.

THE COURT:          And his rights under Rule 11?

MR. COVERT:         Absolutely, Your Honor.

THE COURT:          Now, sir, you have discussed this whole matter with your
                    attorney. He's explained to you what your legal rights are, what
                    your legal options are. You probably didn’t like to hear what he
                    had to tell you, but he's not there to make you feel good. He's
                    there to be your legal advisor. And apparently, based on those
                    discussions, you're here today to waive certain rights and to plead
                    guilty to Count 1 under the terms and conditions of the plea
                    agreement. Are you fully satisfied with the advice and counsel
                    you received from your lawyer?

DEFENDANT:          Yes, Your Honor.

THE COURT:          Any complaints?

DEFENDANT:          No, sir.

Dkt. No. 75, pp. 3-4. Defendant Lander, while under oath during the relatively formal

atmosphere of the Rule 11 change-of-plea proceeding, confirmed his satisfaction

with his counsel, Mr. Covert. Id. He did not say Mr. Covert was pressuring him or

coercing him to enter a guilty plea, or that Mr. Covert was in any way ineffective as

                                           4
     Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 5 of 11



his counsel. Id.

      The transcript of the Rule 11 change-of-plea proceeding shows that Defendant

Lander, repeatedly and in a variety of ways, confirmed his understanding of the

change-of-plea proceeding and of his agreement with the Plea Agreement. See Dkt.

No. 75. The Court specifically addressed the last paragraph of the Defendant’s Plea

Agreement, which provides:

             I have read this agreement, which consists of 15 pages. I
             have had a full opportunity to discuss this agreement with my
             attorney, Barry N. Covert, Esq. I agree that it represents the
             total agreement between myself and the government. No
             promises or representations have been made to me other
             than what is contained in this agreement. I understand all the
             consequences of my plea of guilty. I fully agree with the
             contents of this agreement. I am signing this agreement
             voluntarily and of my own free will.

Dkt. No. 75, pp. 20-21; Dkt. No. 57, p. 15. The Defendant and his counsel signed the

Plea Agreement. Dkt. No. 57, p. 15; Dkt. No. 75, pp. 2, 20.

      The Rule 11 change-of-plea colloquy continued:

THE COURT:         Now, sir, we’ve gone over the agreement in court. You indicated
                   that you understand it. Your attorney says he’s gone over it with
                   you; he’s satisfied that you understand it and you signed it,
                   indicating you understand it. Any questions?

DEFENDANT:         No, sir.

Dkt. No 75, pp. 19-21.

      *      *     *

THE COURT:         Has anyone forced you to plead guilty?

DEFENDANT:         No, sir.



                                           5
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 6 of 11



THE COURT:            Has anyone threatened you in any way?

DEFENDANT:            No, sir.

THE COURT:            Your willingness to plead guilty, you discussed it with your
                      attorney, he discussed it with the government’s attorney and
                      based on those discussions, this plea agreement was prepared
                      and that’s how this all came about, true?

DEFENDANT:            Yes, sir.

Dkt. No. 75, pp. 23-24. Defendant Lander did not say that he was entering his guilty

plea against his free will, that he was being coerced, or that he needed to make

motions to suppress his oral admissions and the incriminating physical evidence.

       After directing further advice to Defendant Lander, and after addressing the

Defendant one-to-one to help assess the Defendant’s mental competency and

understanding of the proceeding, the Court addressed the Defendant’s pretrial and

trial rights, including his right to plead not guilty, to persist in that plea, and his right to

a jury trial during which he would be represented by counsel:

THE COURT:            Any questions?

DEFENDANT:            No, sir.

THE COURT:            You’re doing this voluntarily, of your own free will, no one’s
                      forcing you to do this?

DEFENDANT:            Yes, sir.

THE COURT:            You understand all the possible consequences?

DEFENDANT:           Yes, sir.

Dkt. 75, p. 26. Shortly thereafter, the Defendant entered a plea of guilty to Count 1 of

the Indictment, id. at 27, and the Court found:

                                               6
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 7 of 11



THE COURT:            It is the finding of the Court the defendant is fully competent and
                      capable of entering an informed plea. His plea of guilty is a
                      knowing and voluntary plea supported by an independent basis of
                      fact containing each essential element of the offense charged.

                      The plea is therefore accepted. He is judged guilty of Count 1.

Id.

       Allegations of Coercion. On March 15, 2016, more thirteen months after

Defendant Lander entered the guilty plea, but before sentence was imposed, the

Defendant wrote to the Court pro se:

               It has been nearly a year since I signed the agreement. I
               haven’t felt right about it since that day. Both Mr. Covert and
               my father, with whom I am very close, pressured me to sign
               by saying there was no other viable option since this was the
               Federal Government and my word would not be considered
               credible against that of the arresting officers. At the time of
               my arrest I was hospitable and cooperated fully even though
               I suspected the officer’s conduct was unconstitutional.

Dkt. No. 74; Dkt No. 80, p. 4, ¶ 3.

       On March 8, 2017, after Defendant Lander had been assigned new legal

counsel because of the actual conflict of interest under which Mr. Covert was

operating since the Defendant had accused, and persisted in accusing, Mr. Covert of

coercion, the Defendant moved pursuant to Fed. R. Civ. P. 11(d) to withdraw his

guilty plea2 . The Defendant’s supporting affidavit states:



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          Due to an untimely death of an attorney, and due to attorney conflicts of interest,
Defendant Lander’s current legal counsel is the fourth the Court assigned or attempted to
assign since Mr. Covert was relieved because of the actual conflict of interest arising from the
Defendant’s accusations of coercion. Part of the two-year gap between entry of the guilty plea
and the filing of the Rule 11(d) motion to withdraw on behalf of the Defendant is attributable to
delays associated with the change of counsel.

                                                 7
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 8 of 11



              [The Defendant] had numerous discussions with his attorney
              during the course of which he was told that there was no
              option other than to plead guilty because there was no viable
              defense to the charges. He was further told that if he did not
              plead guilty, he was likely facing significantly more jail time.

              ***

              During the course of the plea colloquy, I answered the
              questions put to me by the Court because of the coercion I
              felt from my attorney and father.

Dkt. No. 88, pp. 3-4. The Defendant states, although he repeatedly testified, under

oath, that he was pleading guilty of his own free will, and repeatedly denied he was

being forced or threatened to plead guilty, that he was, in fact, being coerced. But

the Defendant has submitted no evidence to corroborate his assertion that coercion

by Mr. Covert and by his father caused him to enter his guilty plea.

       The Defendant Was Not Coerced. At the time he entered his guilty plea on

February 4, 2015, Defendant Lander was 37 years of age. He has an Associates

Degree qualifying him as a computer and electronic systems technician, and he had

been employed as an industrial technician for well over ten years. The Defendant

appeared to the Court to be “obviously . . . very intelligent,” “alert, focused, attentive”

and to “clearly understand everything [the Court] was saying and everything . . . [that

was] going on . . . .” Dkt. No. 75, p. 23. Immediately after the Court asked the

Defendant’s counsel to confirm the Court’s impressions of the Defendant during the

Rule 11 change-of-plea proceeding, which Mr. Covert did, the Defendant testified

that no one had forced or threatened him to plead guilty. The Defendant

unequivocally testified he was pleading guilty of his own free will.

                                             8
      Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 9 of 11



      Defendant Lander’s testimony under oath before the Court during the change-

of-plea proceeding carries a strong presumption of accuracy, and the Court will not,

absent a substantial showing, discredit that testimony. See Blackledge v. Allison,

431 U.S. 63, 74, (1977); United States v. Maher, 108 F.3d 1513, 1529 (2d Cir. 1997);

United States v. Gonzalez, 970 F.2d 1095, 1100-01 (2d Cir. 1992). The Defendant

makes no credible showing that he was coerced.

      Thirteen months after Defendant Lander entered his guilty plea, he first

expressed to the Court in his pro se letter that he had felt pressured to sign the Plea

Agreement. Dkt. No. 74. His letter said that he was “hospitable [to investigating law

enforcement officers] and cooperated fully even though [he] suspected [their] conduct

was unconstitutional.” Id. This is little more than the Defendant’s expression of

regret for a tactical decision to be “hospitable” and for having “cooperated fully” with

the investigating officers. The delay in raising the issue tends to show that the

Defendant was not coerced.

      Defendant Lander clearly admitted during his plea colloquy that he is guilty of

Production of Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B) as alleged

in the Indictment. Dkt. No. 75. He has not claimed he is innocent in either his March

15, 2016 pro se letter to the Court, or in his March 8, 2017 motion pursuant to Fed.

R. Crim. P. 11(d) to withdraw his guilty plea. The Defendant’s glaring failure to

discredit his admission of guilt tends to show the Defendant entered his guilty plea

because he is guilty.

      Defendant Lander’s affidavit allegations in support of his Rule 11(d) motion to

                                            9
     Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 10 of 11



withdraw his guilty plea are conclusory; therefore, the Court need not obtain either

affidavits or testimony from Mr. Covert or the Defendant’s father. A “defense

counsel's blunt rendering of an honest but negative assessment of [a defendant’s]

chances at trial, combined with advice to enter the plea” does not “constitute

improper behavior or coercion that would suffice to invalidate a plea.” United States

v. Juncal, 245 F.3d 166, 172 (2d Cir. 2001). Based upon the record before the Court,

that is all that happened in this case.

       The Second Circuit observed in Juncal:

              It is . . . commonplace that a defendant will feel “coerced” in
              the lay sense of the word by an attorney's recommendation
              to plead guilty rather than proceed to trial. Such
              recommendations often come with predictions of almost
              inevitable conviction at trial followed by a long jail sentence.
              A feeling of duress is hardly an unusual outcome of such
              deliberations.

245 F.3d at 174. These “feeling[s] of duress” also hardly amount to actual coercion.

Defendant Lander establishes nothing more than that he regrets pleading guilty.

       Under the Sentencing Guidelines, the Plea Agreement that Defendant Lander

freely entered into, if it is ultimately accepted by the Court, could result in the

Defendant facing an advisory range of imprisonment that is approximately seven

years less than the range that the Defendant would have faced if convicted after a

trial. Such a substantial potential benefit to a defendant could never excuse coercion

of a guilty plea. But legal counsel and family members may well be bound by duty

and profound concern for a defendant’s long-term well-being to pressure a defendant

to accept such a relatively favorable plea offer.

                                             10
     Case 1:13-cr-00151-RJA-JJM Document 94 Filed 05/11/17 Page 11 of 11



      This Court would certainly view Defendant Lander’s Rule 11(d) motion to

withdraw his February 5, 2015 guilty plea differently if the Defendant had any

colorable evidence that his March 7, 2013 admissions to law enforcement agents

were obtained in violation of his Miranda rights, or that any important item of

evidence against him was seized through law enforcement coercion or in violation of

his Fourth Amendment rights against unreasonable searches and seizures. The

Defendant has been represented by highly-experienced, able counsel throughout this

case, and although the Defendant expressed in his pro se letter that he “suspected

. . . [law enforcement] officer[s’] conduct was unconstitutional,” Dkt. No. 74, these

suspicions, unsupported by any corroborating evidence, are insufficient to carry the

Defendant’s burden to establish a fair and just reason to withdraw his guilty plea.

                                    CONCLUSION

      For the reasons stated above, the motion of the Defendant, Ryan C. Lander,

pursuant to Fed. R. Crim. P. 11(d) to withdraw his guilty plea is denied. Sentencing

will be June 16, 2017 at 1:30 p.m. A schedule for updated sentencing submissions

will be entered by Text Order.

      IT IS SO ORDERED.


                                                Richard J. Arcara
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT COURT


Dated: May 11, 2017



                                           11
